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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

 

 

for the
District of Columbia
UNITED STATES OF AMERICA )
Plaintiff )
v. ) Case No. 1:21-cr-00003-RCL-1
JACOB ANTHONY CHANSLEY )
Defendant )
APPEARANCE OF COUNSEL
To: The clerk of court and all parties of record

I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Defendant Jacob Anthony Chansley

Date: 92/02/2021 hel Kae aa a

Attorney’s signature

Albert S. Watkins. DC#399625

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